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                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA


    JASON SWIGER, et al., on behalf       )   CASE NO.: 1:15-cv-02196
    of themselves and others similarly    )
    situated,                             )
                                          )   CHIEF JUDGE CHRISTOPHER C.
          Plaintiffs,                     )   CONNER
                                          )
          vs.                             )
                                          )   JOINT MOTION FOR FINAL
    UTZ QUALITY FOODS, INC.               )   APPROVAL OF CLASS ACTION
                                          )   SETTLEMENT
          Defendant.                      )
                                          )


         Plaintiffs Julio Cruz, Julia Williams, Tom Holt, and Nicholas DeRose (“Rule

23 Class Representatives”)1, on behalf of themselves and the members of the

proposed Rule 23 Classes (“Rule 23 Classes”)2, and Defendant Utz Quality Foods,

Inc. (“Utz”) hereby respectfully request that this Honorable Court:

         1. Finally approve the Parties’ Settlement Agreement, the terms of which

            were the result of a resolution reached after a lengthy mediation proceeding

            held under the auspices of Michael D. Young, Esq. of JAMS;




1
  Rule 23 Class Representatives are herein collectively referred to as
“Representative Plaintiffs” or “Class Representatives”.
2
  Class Representatives and members of the proposed Rule 23 Classes are herein
collectively referred to as “Class Members”.
                                         1
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      2. Finally approve the Parties’ settlement of the Rule 23 Classes pursuant to

         Fed. R. Civ. P. 23(e); and

      3. Finally approve the request for attorneys’ fees and costs of The Lazzaro

         Law Firm, LLC and Nilges Draher, LLC, co-counsel for the Plaintiffs.

      In support of this Motion, Class Representatives and Defendant submit the

following exhibits proposed order:

      Exhibit 1:   Declaration of Class Counsel Anthony J. Lazzaro

                   Supporting Approval of Settlement and Attorneys’ Fees.

                   Exhibit A: Corrected List of Eligible Class Members

                   Exhibit B: List of Eligible FLSA Class Members Who

                   Executed and Submitted Forms

                   Exhibit C: William Clary Letter Requesting Exclusion

                   Exhibit D: Statement of Litigation Expenses

      Exhibit 2:   Declaration of Class Counsel Hans A. Nilges Supporting

                   Approval of Settlement and Attorneys’ Fees.

                   Exhibit A: Statement of Litigation Expenses

      Exhibit 3:   Final   Order      Approving   Class   Action   Settlement

                   Agreement and Judgment Entry

      The following schedule sets forth a proposed sequence for the Settlement:



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          • Thirty (30) calendar days after the Court’s Final Order and Judgment
            Entry: the Effective Date;

          • By the Effective Date: Defendant will issue the Settlement Payment
            and information relating to each Class Member’s tax withholdings from
            their Individual Payments directly to the Settlement Administrator; and

          • Five business (5) days after the Effective Date: Settlement
            Administrator will mail the settlement funds to Class Representatives,
            Rule 23 Class Members, FLSA Class Members, the Service Awards to
            Class Representatives and Discovery Class Representatives, and the
            attorneys’ fees and reimbursement of litigation expenses to Class
            Counsel.
      As noted in the attached Memorandum in Support, the Settlement Agreement

was reached during a mediation including arms-length negotiations between the

Parties, with the assistance of Mediator Michael D. Young of JAMS, which were

conducted by experienced counsel following investigation and substantial discovery,

and on the basis of mutual recognition of the strengths and weaknesses of each

other’s positions, and the risks to each side of continued litigation.

Respectfully submitted,


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                                             Counsel for Defendant



                         CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2017, a copy of the foregoing Joint Motion
For Final Approval Of Class Action Settlement was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt. Parties may access this filing
through the Court’s system.

                                        /s/ Chastity L. Christy
                                       Attorney for Plaintiff

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